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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

ANTONIO BELK, et al.,

         Plaintiffs,                                      Case No. 17-cv-09011

         v.                                               Honorable Judge Robert M. Dow,
                                                          Jr.
THOMAS J. DART, et al.,

         Defendants.

                  AGREED MOTION FOR AGREED PROTECTIVE ORDER

         Defendants, Thomas J. Dart, Zelda Whittler, Bradley Curry, Nneka Jones Tapia, and

Matthew Burke (here “Defendants”), by and through their undersigned counsel, move this

Honorable Court to enter a protective order pursuant to Rule 26(c) of the Federal Rules of Civil

Procedure regarding documents and other material to be produced by the Parties in this matter.

In support of this motion, Defendants state as follows:

         1.      The parties agree that in litigating this case certain information and documents

may be sought and disclosed, which may include confidential, sensitive and/or personal

information.

         2.      The parties agree that good cause exists for the entry of a protective order based

on the nature of the documents and information that may be produced in this case.

         3.      To control the disclosure of this confidential information, the parties have agreed

to the terms of the proposed Agreed Protective Order, based upon the Northern District's model

order.
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       4.      The proposed Order is forward concurrently with this Motion to Judge Dow’s

proposed order e-mail box. Per the local rule, the forwarded draft Order includes a redline and

clean version reflecting the parties' proposed edits.



Dated: February 20, 2019                       By: /s/ Justin L. Leinenweber
                                                       Special State’s Attorney

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                                               By: /s/ Ethan E. White
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                                 CERTIFICATE OF SERVICE

         I, the undersigned attorney, certify that I caused to be served the foregoing document by
electronically filing the same with the Clerk for the U.S. District Court for the Northern District
of Illinois, Eastern Division, a copy of which was then forwarded to each attorney of record by
CM/ECF on February 20, 2019.

Dated: February 20, 2019                              By: /s/ Ethan E. White

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